       Case 4:14-cr-00152-KGB            Document 154         Filed 05/15/15      Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.                                   NO. 4:14CR00152-03 JLH

BILLY TAD EARNEST                                                                       DEFENDANT

                                               ORDER

       Defendant Billy Tad Earnest was committed to the custody of the Attorney General for a

mental evaluation on February 5, 2015. The Court received the written forensic evaluation of

defendant on May 14, 2015.

       The February 5, 2015, Order indicated that fourteen (14) days from the date the examination

report is received by the Court and the parties, any party who requests a hearing regarding any issues

in the report or opposes the report must file a motion for hearing or a motion in opposition, including

a concise statement of opposition to the report and supporting authorities. If no motions are filed

within fourteen (14) days, the Court will enter an Order adopting or rejecting the conclusions set

forth in the report, and the period of excludable delay will end.

       In the event counsel for the government or defendant disputes the findings in the forensic

evaluation report, a motion for hearing, or motion in opposition to the report, including a concise

statement of opposition to the report and supporting authorities, must be filed by MAY 29, 2015.

If no motions are filed, the Court will enter an Order based on the conclusions set forth in the report.

       IT IS SO ORDERED this 15th day of May, 2015.


                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
